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                           UNITED STATES BANKRUPTCY COURT
                              DISTRICT OF MASSACHUSETTS
                                     (Eastern Division)



 In re
                                                      Chapter 13
           ANDREW GREENHUT,
                                                      Case No. 19-10782-JNF
                         Debtor.



                 ORDER GRANTING RELIEF FROM THE AUTOMATIC STAY

          Upon the Motion of Creditor Gita Srivastava for Relief from the Automatic Stay [Doc.

No. 200] (the “Motion for Relief”); and after due deliberation and sufficient cause appearing

therefor, it is herby

          FOUND AND DETERMINED THAT:

                 a.     prior to the filing of his petition, Andrew Greenhut (the “Debtor”) was
                        party to a divorce proceeding, In the Matter of the Marriage of Gita
                        Srivastava and Andrew D. Greenhut and in the Interest of D.S., a Child,
                        filed in the 470th Judicial District Court of Collin County, Texas (the
                        “Texas Trial Court”), Docket No. 470-55383-2015 (the “Divorce Case”),
                        on September 25, 2015;

                 b.     on November 25, 2015, the Texas Trial Court entered the Agreed Final
                        Decree of Divorce (the “Agreed Divorce Judgment”), signed by both
                        parties, approving the property division proposed by the Debtor;

                 c.     on December 9, 2016, the Debtor filed a bill of review collaterally
                        attacking the Agreed Divorce Judgment in Texas district court (the “Texas
                        Bill-of-Review Court”), Docket No. 470-05429-2016;

                 d.     the Texas Bill-of-Review Court denied the Debtor’s bill of review on
                        June 13, 2017;

                 e.     the Debtor appealed the denial of his bill of review to the Court of Appeals
                        for the Fifth District of Texas at Dallas (the “Texas Appeals Court”),
                        Docket No. 05-17-01068-CV, on September 8, 2017;




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                 f.   the Texas Appeals Court rejected the Debtor’s appeal, affirming the denial
                      of his bill of review, by judgment dated July 18, 2018;

                 g.   the Debtor then sought review of the Texas Appeals Court decision by the
                      Supreme Court of Texas (the “Texas Supreme Court”), Docket No. 18-
                      0816, on September 25, 2018 (the “Texas Appeal”);

                 h.   on March 12, 2019 (the “Petition Date”), the Debtor filed a voluntary
                      petition for relief under chapter 13 of title 11 of the United States Code
                      (the “Bankruptcy Code”);

                 i.   as of the Petition Date, the Texas Appeal remained pending;

                 j.   counsel to both the Debtor and creditor Gita Srivastava (“Srivastava”) in
                      the Texas Appeal have agreed to dismiss the Texas Appeal;

                 k.   accordingly, pursuant to the Motion for Relief, Srivastava sought, inter
                      alia, relief from the automatic stay imposed by section 362 of the
                      Bankruptcy Code to perfect a dismissal of the Texas Appeal; and

                 l.   counsel to the Debtor has represented that the Debtor does not oppose the
                      requested relief from the automatic stay for the purpose of disposing of the
                      Texas Appeal.

          It is thereby ORDERED AND DECREED AS FOLLOWS:

                 1.   The automatic stay imposed by 11 U.S.C. section 362 is hereby lifted to
                      the extent necessary to allow the Texas Appeal to proceed.

                 2.   Srivastava and the Debtor are hereby authorized and directed to take
                      whatever action necessary to effect the dismissal of the Texas Appeal.

                                             SO ORDERED this ____ day of August 2020.


                                             ______________________________
                                             Honorable Janet E. Bostwick
                                             United States Bankruptcy Judge




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